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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION

                                                                       CASE NO:18-cv-23500-SCOLA
  KIMBERLY TORRE,

         Plaintiff,

  ROYAL CARIBBEAN CRUISES, ltd, a
  Liberian Corporation, STEINER TRANSOCEAN
  LIMITED, a Bahamian Corporation,

        Defendants.
  _________________________________/


               DEFENDANTS’CORPORATE DISCLOSURE STATEMENT


         COMES NOW Defendants, ROYAL CARIBBEAN CRUISES, LTD., and STEINER

  TRANSOCEAN LIMITED, by and through their undersigned counsel and file their

  Corporate Disclosure Statement as follows:



                       CORPORATE DISCLOSURE STATEMENT OF
                      DEFENDANT, STEINER TRANSCOEAN LIMITED

         OneSpaWorld (Bahamas) Limited, formerly known as Steiner Transocean Limited

  (“OSW”), is an indirect wholly-owned subsidiary of Steiner Leisure limited, which, in turn,

  is ultimately owned by investors in investment vehicles sponsored by a private equity firm.

  OSW is not, to our knowledge, currently owned to the extent of 10% or more by a public

  company but pursuant to a currently pending transaction, it may in the future be indirectly

  owned by a public company.




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                      CORPORATE DISCLOSURE STATEMENT OF
                    DEFENDANT, ROYAL CARIBBEAN CRUISES LTD

         Royal Caribbean Cruises, Ltd is a publicly traded company and no other publicly held

  corporation owns more than 10 percent of its stock.


                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a true and correct copy of the foregoing document was

  served via CM-ECF on this 3rd day of December, 2018 on all counsel of record on the

  attached service list in the manner specified.

                                                                Respectfully submitted,


                                                                /s/ Carmen Y. Cartaya
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                                              SERVICE LIST

                                 CASE NO:18-cv-23500-SCOLA

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